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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

UNITED STATES                                                       PLAINTIFF/RESPONDENT

       V.                             No. 2:09-CR-20026
                                      No. 2:10-CV-02166

SALVADOR ZARATES                                                   DEFENDANT/PETITIONER


                           REPORT AND RECOMMENDATION


       Before the undersigned for report and recommendation is the petitioner's Habeas Corpus

Petitions, See ECF No. 163 filed November 2, 2010, under 28 U.S.C. Section 2255. The

Government filed its Response, See ECF No. 167 on November 24, 2010, and the Petitioner

filed his Reply, See ECF No. 171 on January 26, 2011.

                                        I. Background

       On March 27, 2009, Salvador Zarates (hereinafter “Zarates”) was arrested by State of

Arkansas authorities on drug charges. (PSR 1, ¶¶ 7-14) On March 31, 2009, while Zarates was

being held in Arkansas State custody, a federal criminal complaint was filed against him and

Zarates was arrested by federal officials. (ECF No2. 1) On April 1, 2009, the State of Arkansas

revoked Zarates parole due to his arrest on the State drug charges and he was committed to the

Arkansas Department of Corrections. (PSR, ¶ 44) On April 13, 2009, the United States filed a

Petition and Order for Writ Habeas Corpus Ad Prosequendum requesting that the State of

Arkansas produce Zarates before this Court on May 6, 2009, and that he be returned to the State

of Arkansas at the conclusion of all federal proceedings. (ECF No. 34)



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        On April 22, 2009, Zarates was named in Count 7 of a seven-count Indictment in the

Western District of Arkansas, Fort Smith Division. (ECF No. 35) Count 7 of the Indictment

charged that on or about March 27, 2009, the defendant did knowingly attempt to possess with

intent to distribute cocaine, a Schedule II substance, in violation of Title 21 §§ 841(a)(1) and 846.

(Id.)

        On August 18, 2009, Zarates appeared with appointed counsel before the Honorable

Robert T. Dawson for a change of plea hearing. (ECF No. 82) A written plea agreement was

produced (ECF No. 83) wherein Zarates would plead guilty to Count 7 of the Indictment.

Zarates’ rights were explained to him and the penalties were set forth. The court expressed

tentative approval of the plea agreement. A factual basis was set forth to which Zarates agreed.

He then formally entered a plea of guilty to Count 7 of the Indictment. The court accepted

Zarates’ plea and ordered a Presentence Report (“PSR”).

        On November 4, 2009, the Probation Office issued Zarates’ initial PSR. The PSR

indicated that Zarates was on parole at the time he committed his federal offense and that his

parole was revoked due to the instant offense. (PSR, ¶ 44)

        The United States informed the Probation Office on November 5, 2009, that it had no

objections to the PSR. Zarates notified the Probation Office on November 13, 2009, and

December 10, 2009, of his concerns regarding the criminal history points assessed against him

and of his belief that his guideline score would be lower. On December 11, 2009, the Probation

Office issued a second PSR with addendum addressing Zarates’ concerns.

        On February 17, 2010, Zarates appeared for sentencing. (ECF No. 124) During the

sentencing hearing, the Court asked the probation officer if she was aware of any pending State


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charges and she answered “No, sir.” (Sent. Tr., pg. 4) The Court then heard Zarates’ objection to

how he was assessed criminal history points regarding paragraphs 38 through 40 of the PSR.

(Sent. Tr.3, pp. 5 - 8) The Court overruled Zarates’ objection. Next the Court heard Zarates’

second objection which involved his calculated guidelines range. (Sent. Tr., pp. 8 - 10). The

Court overruled the objection. After recognizing Zarates’ recommended sentencing guidelines

range was 151 to 188 months and considering the § 3553(a) factors, the Court proceeded to

sentence Zarates to 77 months imprisonment, 3 years supervised release, $2,500 fine with

interest waived, and $100 special assessment. (ECF No. 124; Sent. Tr., pp. 17 - 20) The 77

months imprisonment represented a 41 percent departure from the top of Zarates’ recommended

guidelines sentence. Judgment was entered on February 23, 2010. (ECF No. 133).

       After sentencing, Zarates remained in Arkansas custody until April 15, 2010, when he

was paroled on his State charges and entered federal custody.

       On July 16, 2010, Zarates contacted the Warden of the Federal Correctional Complex,

Pollock, Louisiana, requesting an administrative remedy to credit him 473 days of jail credit

which he alleged should have been credited for time spent in federal custody. (See ECF No. 157,

ECF No 157-1). Zarates’ request was denied by the Warden on July 27, 2010. In his denial, the

Warden stated:

           An investigation into this matter revealed that when you committed the
           instant federal offense, you subsequently violated your parole with the
           Arkansas Department of Corrections. In doing so, the State had primary
           jurisdiction over you, due to the fact that your State parole was in affect
           prior to the instant federal offense.

       Thereafter, On August 13, 2010, Zarates filed a Motion for Nunc Pro Tunc Amended

Judgment asking the Court to amend his judgment to reflect jail credit from March 27, 2009,


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until April 15, 2010. (ECF No. 157) In his motion, Zarates argued that he was placed into federal

custody on April 1, 2009, where he remained until April 15, 2010. The United States responded

on August 19, 2010, arguing that Rule 35 of the Federal Rules of Criminal Procedure prohibited

the Court from modifying Zarates’ term of imprisonment and that Zarates should challenge any

determinations made by the Bureau of Prisons after exhausting his administrative remedies by

bringing a motion under 18 U.S.C. § 2241 in the district of his confinement. (ECF No. 158) On

September 2, 2010, the Court issued its Order denying Zarates’ Nunc Pro Tunc motion. (ECF

No. 160).

       On November 2, 2010, Zarates filed his Motion to Vacate, Set Aside, or Correct Sentence

Pursuant to 28 U.S.C. § 2255 (ECF No. 163), Zarates’ main claim is that his appointed counsel

provided ineffective assistance because he failed to move to have his federal sentence run

concurrently with his State sentence. Additionally, Zarates appears to make a claim that his

counsel was also ineffective because counsel did not inform the Court that he was in federal

custody and had State charges pending against him at the time of his federal sentencing. The

Petitioner’s claims are without merit.

                                         II. Discussion

       Although it appears to be broad, 28 U.S.C. § 2255 does not provide a remedy for “all

claimed errors in conviction and sentencing.” See U.S. v. Swayze, 2008 WL 859030, 8

(N.D.Iowa) (N.D.Iowa,2008) citing United States v. Addonizio, 442 U.S. 178, 185, 99 S.Ct.

2235, 60 L.Ed.2d 805 (1979). Rather, 28 U.S.C. § 2255 is intended to redress only “fundamental

defect[s] which inherently [result] in a complete miscarriage of justice” and “omission[s]

inconsistent with the rudimentary demands of fair procedure.” Hill v. U.S. , 368 U.S. 424 at 428;


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see also United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.1996) ( “Relief under 28 U.S.C. §

2255 is reserved for transgressions of constitutional rights and for a narrow range of injuries that

could not have been raised for the first time on direct appeal and, if uncorrected, would result in a

complete miscarriage of justice.”) (citing Poor Thunder v. United States, 810 F.2d 817, 821 (8th

Cir.1987)). A collateral challenge under 28 U.S.C. § 2255 is not interchangeable or substitutable

for a direct appeal. See United States v. Frady, 456 U.S. 152, 165, 102 S.Ct. 1584, 71 L.Ed.2d

816 (1982) (making clear a motion pursuant to 28 U.S.C. § 2255 will not be allowed to do

service for an appeal). Consequently, “[a]n error that may justify reversal on direct appeal will

not necessarily support a collateral attack on a final judgment.” Id. (internal quotation marks and

citation omitted).

Ineffective Assistance of Counsel:

       The Petitioner’s claim is that his appointed counsel provided ineffective assistance

because he (1) failed to move to have his federal sentence run concurrently with his State

sentence and that (2) his counsel did not inform the Court that he was in federal custody and had

State charges pending against him at the time of his federal sentencing

       A defendant “faces a heavy burden” to establish ineffective assistance of counsel

pursuant to section 2255. DeRoo v. United States, 223 F.3d 919, 925 (8th Cir. 2000). 2254. Cox

v. Wyrick, 642 F.2d 222, 226 (C.A.Mo., 1981) To establish a claim of ineffective assistance of

counsel, Petitioner must satisfy the two-part test set forth in Strickland v. Washington, 466 U.S.

668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).

       First, under the “deficient performance” component, he must show that his counsel “made

errors so serious that counsel was not functioning as the 'counsel' guaranteed [him] by the Sixth


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Amendment.” Strickland, 466 U.S. at 687. That showing can be made by demonstrating that

counsel's performance “fell below an objective standard of reasonableness.” Wiggins v. Smith,

539 U.S. 510, 522, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003)(internal citations omitted).

       Second, under the “prejudice” component, he must demonstrate that “there is a

reasonable probability that, but for counsel's unprofessional errors, the result of the proceeding

would have been different.” Id. at 694. see also, i.e. United States v Ledezma-Rodriguez, 423

F.3d 830, 836 (8th Cir. 2005)(post-conviction relief will not be granted on a claim of ineffective

assistance of trial counsel unless the petitioner can show not only that counsel's performance was

deficient but also that such deficient performance prejudiced his defense).

       To satisfy this “prejudice” prong, Petitioner must show “that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different . . . a reasonable probability [meaning] a probability sufficient to undermine

confidence in the outcome.” U.S. v. Rice, 449 F.3d 887 at 897 (internal quotations omitted).

Thus, it is not sufficient for a defendant to show that the error had some “conceivable effect” on

the result of the proceeding because not every error that influences a proceeding undermines the

reliability of the outcome of the proceeding. Morales v. Ault, 476 F.3d 545 (8th Cir.2007) (citing

Odem v. Hopkins, 382 F.3d 846, 851 (8th Cir.2004)). Additionally, actual prejudice does not

exist where a petitioner, at best, suffers the mere possibility of prejudice. See Wainwright v.

Torna, 455 U.S. 586, 587-88 (1982); Prewitt v. United States, 83 F.3d 812, 819 (7th Cir.1996)

(mere possibility does not equal actual prejudice).

       Although the two prongs of the “ineffective assistance” analysis are described as

sequential, courts “do not . . . need to address the performance prong if petitioner does not


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affirmatively prove prejudice.” Boysiewick v. Schriro, 179 F.3d 616, 620 (8th Cir.1999).

       Also, to the extent that Petitioner’s claims arise out the plea process, he must show a

reasonable probability that, but for counsel’s errors, he would not have pled guilty and would

have insisted on going to trial. See Strickland, 466 U.S. at 688; United States v. Prior, 107 F.3d

654, 661 (8th Cir. 1997).

       Claim One: Incorrect information on jail credit.

       The Petitioner first contends that "counsel was ineffective at sentencing for failing to

have movant's federal sentence ran (sic) concurrently or consecutively to his state sentence

pursuant to section 5G1.3 of the U.S. Sentencing Guidelines." ECF No. 163-4, p. 4.

       The Petitioner contends that “he was informed by counsel that he would receive credit for

all the time he has been incarcerated from the very date he entered into the U.S. Marshal’s

custody.” (ECF No. 163-4, p. 5). He stated that his counsel “failed to relate to the court the

circumstances surrounding the Movant’s pending charges and raise any argument to this

honorable court’s inherent power to impose consecutive or concurrent sentences”. (Id.).

       Misinformation presented at sentencing alone does not justify relief pursuant to § 2255.

See, United States v. Blackwell, 127 F.3d 947, 953-54 (10th Cir. 1997) Only where the

misinformation resulted in a “complete miscarriage of justice” is a petitioner entitled to relief. Id.

Accordingly, misinformation alone cannot constitute a fundamental defect. Only misinformation

of constitutional magnitude” is cognizable under § 2255. See id. at 187, 99 S.Ct. at 2241; United

States v. Sunrhodes, 831 F.2d 1537, 1542 (10th Cir.1987).

        The record also shows that the Petitioner entered a plea of guilty and as such is only

required to be advised of the maximum and minimum sentence. United States v. Granados, 168


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F.3d 343, 345 (8th Cir.1999)(“the law in this circuit is clear that a defendant who pleads guilty

has no right to be apprised of the sentencing options outside the statutory maximum and

minimum sentences.”). The Plea Agreement signed by the Petitioner set forth the Maximum

Penalties that the court could assess (ECF No. 83, ¶ 9).

       The Bureau of Prisons has exclusive authority to compute proper credit for time served

and to determine the amount of time to be served pursuant to criminal judgments. The “exclusive

remedy for challenging the BOP's calculation of a federal sentence is a habeas corpus petition

filed pursuant to 28 U.S.C. § 2241, directed to the United States District Court wherein the

petitioner is incarcerated, and naming the warden of the federal facility as a respondent.” Rios v.

Wiley, 201 F.3d 257 (3rd Cir.2000). The District Court informed the Petitioner of the correct

procedure in its order (ECF No. 160, p. 2) dated September 2, 2010 but the Petitioner has

eschewed that procedure for the current habeas action.

       In response to the Petitioner claim that he was entitled to 473 days of credit the Warden at

Marian Medina responded that a :

           “sentence to a term of imprisonment commences on the date the defendant
           is received in custody awaiting transportation to, or arrives voluntarily to
           commence service at, the official detention facility at which the sentence is
           to be served. Pursuant to this rule, if a prisoner is in exclusive federal
           custody (not under the jurisdiction of a federal writ of habeas corpus ad
           prosequendum) at the time of sentencing, the sentence commences on the
           date of imposition. In light of applicable statute, as referenced in Bureau
           of Prisons policy, if the sentencing federal court does not state that your
           federal sentence is to run concurrent with your state sentence, your federal
           sentence cannot commence until you come into exclusive custody. You
           were received into exclusive federal custody on April 15, 2010, the day
           you paroled from Arkansas Department of Corrections.” (ECF No. 157-1,
           p. 2).

       It would appear that as a result of the determination by the Bureau of Prisons that the


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Petitioner is now contending that his attorney was ineffective for failure to argue that his federal

sentence should have been ordered to run concurrent with his state court sentence.

        Under 18 U.S.C. § 3584(a), “If multiple terms of imprisonment are imposed on a

defendant at the same time, or if a term of imprisonment is imposed on a defendant who is

already subject to an undischarged term of imprisonment, the terms may run concurrently or

consecutively...Multiple terms of imprisonment imposed at different times run consecutively

unless the court orders that the terms are to run concurrently”

        According to Program Statement 5880.28, Sentence Computation Manual, (CN-03)

February 14, 1997, Pages 1-31, 1 - 32, “if the court is silent as to whether terms of imprisonment

imposed at the same time (emphasis added) are concurrent or consecutive, the terms run

concurrently unless a statute requires that they be consecutive. If, on the other hand, multiple

terms of imprisonment are imposed at different times (emphasis added) without the judge

specifying whether they are to run concurrently or consecutively, they will run consecutively

unless the statute specifies otherwise.” See Program Statement 5880.28, Sentence Computation

Manual, (CN-03) February 14, 1997, Pages 1-31, 1 - 32. This subsection allows the court

flexibility in sentencing when multiple terms of imprisonment are imposed and codifies the rules

to follow if the court remains silent. Id.

        Individuals that commit a federal offense while on parole are governed by § 5G1.3(c) of

the Sentencing Guidelines which states that:

                    In any other case involving an undischarged term of imprisonment,
            the sentence for the instant offense may be imposed to run concurrently,
            partially concurrent, or consecutively to the prior undischarged term of
            imprisonment to achieve a reasonable punishment for the instant offense.
            2008 U.S.S.G. § 5G1.3(c).

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       Application Note 3(C) states that:

                   Subsection (c) applies in cases in which the defendant was on
           federal or state probation, parole, or supervised release at the time of the
           instant offense and has had such probation, parole, or supervised release
           revoked. Consistent with the policy set forth in Application Note 4 and
           subsection (f) of §7B1.3 (Revocation of Probation or Supervised Release),
           the Commission recommends that the sentence for the instant offense
           be imposed consecutively to the sentence imposed for the revocation.

       The Government argues that the sentence the Petitioner received has to run

consecutively and sites the 2001 Sentencing Guidelines and United States v. Smith,

282 F.3d 1045, 1047-48 (8th Cir.2002); United States v. Goldman, 228 F.3d 942,

943-44 (8th Cir.2000) and U.S. v. Caldwell, 339 F.3d 680, 681 (C.A.8 (Mo.),2003).

       In November 2003, the Sentencing Commission amended § 5G1.3 to state,

inter alia, that “the Commission recommends that the sentence for the instant offense

be imposed consecutively to the sentence imposed for the revocation [of probation].”

USSG § 5G1.3, comment. (n.3(C)) (emphasis added). The Commission explained:

                   [T]he Commission recommends a consecutive sentence in this
           situation. This amendment also resolves a circuit conflict concerning
           whether the imposition of such sentence is required to be consecutive.*8
           The amendment follows holdings of the Second, Third, and Tenth Circuits
           stating that imposition of sentence for the instant offense is not required to
           be consecutive to the sentence imposed upon revocation of probation.

                  USSG App. C (Amendment 660, “Reason for Amendment” ¶ 2)
           [hereinafter “Amendment 660, ¶ 2”] (citing the Maria, Swan, and Tisdale
           decisions). Amendment 660, ¶ 2, now encourages district courts to impose
           consecutive sentences, while at the same time permitting them-in the
           exercise of their sound discretion-to make the federal sentence concurrent.



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         The Eighth Circuit recognized the change in the sentencing provision in 2004

when it stated that “assuming that the district court had the authority to order a

concurrent or partially concurrent sentence in this case, the district court supplied

more than adequate justification for its decision otherwise.” U.S. v. White, 367 F.3d

968, 970 (C.A.8 (Minn.),2004). The court notes that the White case has not been

referenced since its decision however the cases of U.S. v. Booker and Gall v. U.S.

have been decided and it is possible that the decision may be discretionary with the

court.

         Even assuming that it is no longer mandated in the Eighth Circuit that such

sentences run consecutively it is clear that it is the recommendation of the Sentencing

Commission that any sentence for an offense committed while a defendant is on

parole be run consecutive to the revocation sentence. There is no evidence to suggest

that the sentencing court would not follow the recommendation of the sentencing

commission in this regard. The Petitioner was a career offender who had committed

the federal charges while out on parole. The Petitioner had been previously revoked in

October 2002 and then in April 2009 on different state court charges. The Petitioner

had a Criminal History Category of Level VI and a total offense level of 29. (PSR).

The court made allowances in the sentence imposed on the Petitioner when it

sentenced him below the guideline provisions. It is certainly probable that the court

considered the time the Petitioner had spent in custody in imposing its sentence below

the guideline provision.

         In addition it does not appear that the Petitioner would be entitled to credit for


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the time spent in the Arkansas Department of Corrections prior to being sentenced on

the federal charge. In regards to credit for prior custody 18 U.S.C. § 3585 provides

that:

        (b) Credit for prior custody.--A defendant shall be given credit toward the

service of a term of imprisonment for any time he has spent in official detention prior

to the date the sentence commences--

               (1) as a result of the offense for which the sentence was imposed; or

               (2) as a result of any other charge for which the defendant was arrested

               after the commission of the offense for which the sentence was

               imposed;

               that has not been credited against another sentence. 18 U.S.C.A. §

3585.

        In this case the Petitioner was given credit for his time in the Arkansas

Department of Corrections against his parole revocation.

        Claim Two: Silence of counsel at sentencing.

        Additionally, Zarates argues that he was prejudiced by counsel’s silence at

sentencing regarding the Court’s inquiry as to whether there were pending charges

against him. ECF No. 163-4, p. 4. The Petitioner contends that his attorney stood

silent when, at sentencing on February 17, 2010, the court inquired of the Probation

Officer if he/she “was aware of any state charges that were pending”. The response

was no. In point of fact there were no state charges pending. On April 1, 2009, the

State of Arkansas had revoked Zarates parole in Sebastian County Circuit Case No.


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CR 07-1340 due to his arrest on the drug charges and he was committed to the

Arkansas Department of Corrections. (PSR, ¶ 44). During the time from his parole

revocation on April 1, 2009 until he was released by the Arkansas Department of

Corrections on April 15, 2010 the Petitioner was an inmate of the Arkansas

Department of Correction. On April 15, 2010 he entered Federal custody. An

attorney does not render ineffective assistance by failing to pursue meritless claims.

Rodriguez v. United States, 17 F.3d 225, 226 (8th Cir.1994).

       There has been no showing by the Petitioner that his attorney’s performance

was deficient in any manner or that he was prejudiced by the actions of his attorney.

Since the Petitioner’s claims arise out the plea process, he must show a reasonable

probability that, but for counsel’s errors, he would not have pled guilty and would

have insisted on going to trial. See Strickland, 466 U.S. at 688; United States v. Prior,

107 F.3d 654, 661 (8th Cir. 1997). The Petitioner has not put forth any assertion that

he wanted to go to trial only that he feels that he should receive more jail time credit.

Evidentiary Hearing:

       Finally, Petitioner does not state grounds sufficient to require an evidentiary

hearing. An evidentiary hearing on a § 2255 motion must be granted unless the

motion, files and records of the case establish conclusively that the petitioner is not

entitled to relief. Kingsberry v. United States, 202 F.3d 1030, 1032 (8th Cir. 2000). A

§ 2255 motion can be dismissed without a hearing if (1) the petitioner's allegations,

accepted as true, would not entitle the petitioner to relief, or (2) the allegations cannot

be accepted as true because they are contradicted by the record, inherently incredible


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or conclusions rather than statements of fact. Delgado v. United States, 162 F.3d 981,

983 (8th Cir.1998).

        In the present case, even if the court accepted the Petitioner’s allegations as

true, the record shows that he is not entitled to the relief requested.

                                      I. Conclusion

        Based upon the forgoing I recommend that the instant motion, filed under 28

U.S.C. §2255 be dismissed with prejudice.

        The parties have fourteen days from receipt of this report and

recommendation in which to file written objections pursuant to 28 U.S.C.

Section 636(b)(1). The failure to file timely written objections may result in

waiver of the right to appeal questions of fact. The parties are reminded that

objections must be both timely and specific to trigger de novo review by the

district court.



        IT IS SO ORDERED this 25th day of March 2011




                                        /s/ J. Marschewski
                                        HONORABLE JAMES R. MARSCHEWSKI
                                        CHIEF U. S. MAGISTRATE JUDGE




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